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10
11                                 UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA

13
     ELRETHA PERKINS and LARONICA                          Case No. 3:22-cv-03455-JD
14   JOHNSON, individually and on behalf of all
     others similarly situated,                            PLAINTIFFS’ RESPONSE IN SUPPORT
15
                                                           OF DEFENDANT’S MOTION TO
                     Plaintiffs,                           CONSOLIDATE
16
17          vs.                                            Date:          November 10, 2022
18                                                         Time:          10:00 a.m.
     WELLS FARGO, N.A., a Delaware                         Location:      Courtroom 11
19   Corporation; WELLS FARGO HOME                                        Phillip Burton Federal Building
     MORTGAGE, INC., a Delaware                                           & United States Courthouse
20   Corporation,                                                         450 Golden Gate Avenue
21                                                                        San Fransisco, CA 94102
                     Defendants.
22
23
24
25
26
27
28

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 1                                               INTRODUCTION

 2           Plaintiffs in six separate putative class action cases (“parallel cases”) allege that Defendant
 3
     Wells Fargo (“Wells Fargo”) discriminated against home loan seekers based on their protected
 4
     racial status. See Williams v. Wells Fargo Bank, N.A., et al., No. 3:22-cv-00990-JD (filed Feb. 17,
 5
 6   2022) (“Williams”); Braxton v. Wells Fargo Bank, N.A., et al., No. 3:22-cv-01748-JD (filed Mar.

 7   18, 2022) (“Braxton”); Pope v. Wells Fargo Bank, N.A. et al., No. 4:22-cv-01793-JD (filed Mar.
 8   21, 2022) (“Pope”); Thomas et al. v. Wells Fargo Bank, N.A. et al., No. 3:22-cv-01931-CRB (filed
 9
     Mar. 26, 2022) (“Thomas”); Ebo v. Wells Fargo Bank, N.A., No. 3:22- cv-02535-JD (filed Apr.
10
     26, 2022) (“Ebo”); and Perkins v. Wells Fargo Bank, N.A., et al., No. 3:22-cv-3455-JD (filed June
11
12   10, 2022) (“Perkins”).

13           Pursuant to Rule 42 of the Federal Rules of Civil Procedure, the Perkins Plaintiffs
14
     respectfully request that this Court consolidate the parallel cases because they are, at their core,
15
     rooted in common questions of fact and law, including, whether Plaintiffs can establish they were
16
     the victims of Wells Fargo’s intentional discrimination (disparate treatment) or were discriminated
17
18   against based on a facially neutral policy that resulted in discrimination (disparate impact), and if

19   said Plaintiffs can show that Wells Fargo’s conduct violates federal and/or California state law.
20
     Furthermore, consolidation would save time and effort, and would not cause any inconvenience,
21
     delay, or expense.
22
23                             I. RELEVANT FACTUAL BACKGROUND

24      A.     The Williams Case
25           On February 17, 2022, Plaintiff Christopher Williams filed a putative class action against
26
     Defendant Wells Fargo Bank, N.A. and Wells Fargo & Company. Plaintiff Williams alleges that
27
     Wells Fargo discriminated against him on the basis of race when he applied for a home mortgage
28
     loan, and that Wells Fargo’s home mortgage origination and underwriting practices intentionally
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 1   and disproportionately discriminate against racially protected status home loan applicants.

 2   Declaration of Amanda M. Williams (“AMW Decl.”), Ex. B, ¶¶ 6–18.
 3
            Plaintiff Williams alleges Wells Fargo’s conduct violates (i) the Equal Credit Opportunity
 4
     Act, 15 U.S.C. § 1691 et seq. (“ECOA”); (ii) 42 U.S.C. § 1981 (“Section 1981”); (iii) 42 U.S.C. §
 5
 6   1982 (“Section 1982”); and (iv) the Fair Housing Act of 1968, 42 U.S.C. § 3601 et seq. (“FHA”).

 7   AMW Decl., Ex. C, ¶¶ 52–74. Plaintiff Williams seeks to represent a putative class “a class of
 8   Black and/or African American applicants or borrowers who applied for, received, or maintained
 9
     credit from Defendants related to residential real estate and who were subjected to discrimination
10
     by Defendants due to their race.” Id., ¶ 44. Plaintiff Williams also seeks declaratory and injunctive
11
12   relief, compensatory damages, punitive damages, prejudgment interest, costs, and attorneys’ fees.

13   Id., Prayer for Relief. Two months later, on April 14, 2022, Plaintiff Williams filed an amended
14
     complaint. See Ex. C.
15
        B. The Braxton Case
16
            On March 18, 2022, Plaintiff Aaron Braxton filed the second putative class action lawsuit
17
18   against Wells Fargo Bank, N.A. and Wells Fargo Home Mortgage, Inc., alleging that Wells Fargo

19   discriminated against him on the basis of race when he applied to refinance his mortgage loan,
20
     and that Wells Fargo’s residential mortgage policies and practices discriminate against African
21
     American applicants. AMW Decl., Ex. D, ¶¶ 23–50. Plaintiff Braxton alleges that Wells Fargo’s
22
     actions violated the ECOA, Section 1981, the FHA, the California Unruh Civil Rights Act
23
24   (“Unruh”), and the California Unfair Competition Law (“UCL”). AMW Decl., Ex. E, ¶¶ 166–

25   198.   Plaintiff Braxton seeks injunctive relief, compensatory damages, punitive damages,
26
     prejudgment interest, costs, and attorneys’ fees, and defines the putative class he would like to
27
     represent as Black homeowners who submitted an application to refinance their home mortgage
28
     through Wells Fargo that were “(i) processed at a rate slower than that of the average processing
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 1   time of applications made by non-Black applicants; or (ii) whose applications were denied; or (iii)

 2   whose resulting refinance loans were made at higher interest rates as compared to similarly situated
 3
     non-Black applicants. Excluded from the Class are Defendants and their employees, affiliates,
 4
     parents, subsidiaries, and co-conspirators, whether or not named in this Complaint, and the United
 5
 6   States government.” Id., ¶¶ 146 and Prayer for Relief. One month later, on April 19, 2022,

 7   Plaintiff Braxton filed an amended complaint that added additional plaintiffs. See AMW Decl.,
 8   Ex. E.
 9
        C. The Pope Case
10
              On March 21, 2022, Plaintiff Alfred Pope filed a putative class action against Wells Fargo,
11
12   similarly alleging discriminatory practices in the bank’s denial of his refinance application. AMW

13   Decl., Ex. F, ¶ 12–40. Plaintiff Pope alleges that Wells Fargo’s conduct violated the ECOA, the
14   FHA, and the UCL. Id., 41–66. Plaintiff Pope also seeks injunctive relief, compensatory and
15
     punitive damages, prejudgment interest, costs, and attorney’s fees. Id., Prayer for Relief. Plaintiff
16
     Pope defines the putative class he seeks to represent as “all first and second lien Wells Fargo
17
18   minority mortgage refinance applicants from 2019-present (the “Class Period”) whose refinancing

19   applications were discriminatorily denied (the “Class”). Excluded from the Class are Defendants,
20
     their subsidiaries, affiliates, officers, directors, and employees.” Id., ¶¶ 31–32.
21
        D. The Thomas Case
22
              On March 26, 2022, Plaintiffs Winfred Thomas and Michelle Sims (“Thomas Plaintiffs”)
23
24   filed a putative class action complaint against Wells Fargo, alleging that the financial institution

25   discriminated in their refinance applications based on race. AMW Decl., Ex. G., ¶¶ 16–34. The
26   Thomas Plaintiffs allege that Wells Fargo’s discriminatory conduct violated the ECOA, the FHA,
27
     and the UCL. Id., 45–68. The Thomas Plaintiffs also seek injunctive relief, compensatory and
28
     punitive damages, prejudgment interest, costs, and attorney’s fees. Id., Prayer for Relief. Like
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 1   Plaintiff Pope, the Thomas Plaintiffs define the class they seek to represent as “all first and second

 2   lien Wells Fargo minority mortgage refinance applicants from 2019-present (the “Class Period”)
 3
     whose refinancing applications were discriminatorily denied (the “Class”). Excluded from the
 4
     Class are Defendants, their subsidiaries, affiliates, officers, directors, and employees.” Id., ¶¶ 35–
 5
 6   36.

 7      E. The Ebo Case
 8            On April 26, 2022, Ifeoma Ebo filed a putative class action complaint against Wells
 9
     Fargo. AMW Decl., Ex. H. Plaintiff Ebo alleges that Wells Fargo discriminated against her on
10
     the basis of race when she applied for a home mortgage loan, and that its home mortgage
11
12   origination and underwriting practices intentionally and disproportionately discriminate against

13   African American home loan applicants. Id., ¶¶ 13–49. Based on those allegations, Plaintiff Ebo
14   brings claims under the ECOA, Section 1981, and the FHA. Id., ¶¶ 55–84. Plaintiff Ebo seeks to
15
     represent “All Black Americans (1) who submitted applications to obtain or refinance a mortgage
16
     loan with respect to residential real property, (2) who were qualified to receive mortgage loans
17
18   from Wells Fargo, and (3) whose applications were either (a) denied by Wells Fargo, (b) never

19   completed, due to Wells Fargo’s demands for documentation or information that would not have
20
     been imposed by Wells Fargo in connection with a similarly situated White applicant, or (c)
21
     granted by Wells Fargo, but on less favorable terms than a similarly situated White borrower would
22
     have received.” Id., ¶ 50. Plaintiff Ebo also seeks compensatory damages, punitive damages,
23
24   statutory damages, prejudgment interest, costs, and attorneys’ fees. Id., Prayer for Relief.

25      F. The Perkins Case
26          On June 10, 2022, Elretha Perkins and Laronica Johnson (“Perkins Plaintiffs”) filed a
27
     putative class action against Wells Fargo Bank, N.A. and Wells Fargo Home Mortgage, Inc.,
28
     alleging that Wells Fargo discriminated against them on the basis of race when they sought to
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 1   refinance their home mortgage loans, and that Wells Fargo’s home mortgage origination and

 2   underwriting practices intentionally and disproportionately discriminate against African American
 3
     and minority home loan applicants. ECF No. 1; AMW Decl. Ex. A, 34–55. Based on those
 4
     allegations, the Perkins Plaintiffs bring claims under (1) the ECOA; (2) the FHA; (3) Section 1981;
 5
 6   (4) and the UCL. Id., ¶¶ 66–102.

 7          The Perkins Plaintiffs seek to represent a proposed class of “[a]ll Black persons, as well as
 8   other racial minorities” that “submitted, or attempted to submit, an application to finance or
 9
     refinance their home mortgage through the Defendants that was (i) processed at a rate slower than
10
     that of the average processing time of applications made by non-Black or other nonracial minority
11
12   applicants; or (ii) whose application was denied; or (iii) whose resulting refinanced loans were

13   made at higher interest rates as compared to similarly situated non-Black applicants.” Id., ¶ 56.
14
     Like the Plaintiffs in the other parallel cases, the Perkins Plaintiffs seek injunctive relief,
15
     compensatory damages, punitive damages, prejudgment interest, costs, and attorneys’ fees. Id.,
16
     Prayer for Relief.
17
18                                         II. LEGAL ANALYSIS

19      A. These Parallel Cases Against Wells Fargo Should Be Consolidated.
20
            Under Rule 42 of the Federal Rules of Civil Procedure, the threshold determination of
21
     whether a district court should consolidate multiple actions is whether said actions involve “a
22
     common question of law or fact.” Fed. R. Civ. P. 42(a); see, e.g., In re Wells Fargo & Company
23
24   Shareholder Derivative Litigation, 2017 WL 130282, at *1 (N.D. Cal. Jan. 12, 2017) (emphasis

25   added). By the Rule’s plain language, a court need only determine that the multiple actions in
26
     question share merely one common question of fact or law in order to consolidate. Medlock v.
27
     Taco Bell Corp., 2009 WL 1444343, at *1 (E.D. Cal. May 19, 2009) (“Once a common question
28
     has been established, consolidation is within the broad discretion of the district court.” (internal
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 1   quotations omitted)). Because consolidation only requires one common question of law or fact,

 2   district courts may “consolidate two actions even if there is not a strict identity of claims or
 3
     parties.” Amador v. Logistics Express, Inc., 2010 WL 3489038, *1 (C.D. Cal. Aug. 27, 2010)
 4
     (citations omitted). When multiple actions involve at least one common question of law or fact,
 5
 6   and are thus appropriate to be merged, “consolidation is favored.” See Perez-Funez v. District

 7   Director, I.N.S., 611 F.Supp. 990, 994 (C.D. Cal. 1984) (noting that consolidation is “typically . .
 8   . favored” when multiple actions involve common question of law or fact).
 9
            When determining whether consolidation is proper, a district court should also consider
10
     “the saving of time and effort consolidation would produce against any inconvenience, delay, or
11
12   expense that it would cause.” Melgoza v. Aegis Senior Communities LLC, 2022 WL 1693706, at

13   *2 (N.D. Cal. May 26, 2022) (quoting BizCloud, Inc. v. Comput. Scis. Corp., 2014 WL 1724762,
14
     at *2 (N.D. Cal. Apr. 29, 2014)). “Consolidation . . . facilitates discovery, conserves judicial
15
     resources, and reduces the confusion and delay that result from prosecuting related class action
16
     cases separately.” Diaz v. First American Home Buyers Protection Company, 2014 WL 12696519,
17
18   at *2 (S.D. Cal. Sept. 25, 2014) (citing In re Equity Funding Corp. of America Securities Litigation,

19   416 F.Supp. 161, 176 (C.D. Cal. 1976)).
20
                    1.   These Parallel Cases Share Many Common Questions of Fact and Law.
21
            Without question, these parallel cases share many common questions of fact and law and,
22
     therefore, more than satisfy the threshold consolidation inquiry under Rule 42.
23
24          Here, the common questions of fact include, but are not limited to: (1) Whether Wells

25   Fargo systematically discriminated against Class Members on account of their race; (2) Whether
26
     Black, or other racially protected status plaintiffs, home loan credit seekers’ home mortgage and
27
     refinance applications were processed at a rate slower than that of the average processing time of
28
     applications made by non-Black (or non-protected status) home loan credit seekers; (3) Whether
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 1   Black, or other racially protected status plaintiffs, applicants for home mortgage and refinance

 2   applications, were denied when the score of a similarly situated non-Black (or non-protected
 3
     status) applicant would be approved; (4) Whether Black (or other racially protected status)
 4
     applicants’ resulting refinance loans were made at higher interest rates as compared to similarly
 5
 6   situated non-Black (or non-protected status) applicants; (5) Whether Wells Fargo selected

 7   disproportionately white areas for rapid refinancing evaluation and disproportionately Black, or
 8   other racially protected status, areas for increased scrutiny; and (6) whether Wells Fargo’s
 9
     underwriting algorithms and machine learning programs were racially biased and led to unfairly
10
     discriminatory credit policies that harmed Black, or other racially protected status, refinancing
11
12   applicants.

13          Each Plaintiff in each parallel case will need to establish facts relating to these questions
14
     (or substantively similar questions) to prevail on their claims. Because there are several questions
15
     of fact common to these parallel cases, the Court can end its consolidation inquiry here and grant
16
     the motion to consolidate.
17
18          In addition to the common facts, the shared questions of law are many as well. Each of the

19   parallel cases against Wells Fargo allege that the banking giant’s discriminatory practices violate
20
     the ECOA, the FHA, and Section 1981, among other laws. See Supra I.A–F. In other words, each
21
     of the parallel case plaintiffs must establish that Wells Fargo’s alleged conduct violated the same
22
23   federal laws. Again, Rule 42’s consolidate requirement is satisfied.

24          Although many common questions of fact and law dominate across these parallel cases, it
25   may be that one of the six parallel plaintiffs—the Braxton Plaintiffs—claim that their class
26
     definition, which is different in scope, warrants this Court denying the motion for consolidation.
27
     This argument, if proffered, should be rejected.
28

              Perkins Plaintiffs’ Response In Support of the Wells Fargo Defendants’ Motion to Consolidate

                                                          10
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 1          First, as this Court is aware, differing class definitions do not preclude consolidation. See,

 2   e.g., Amador., 2010 WL 3489038, at *1 (“Though the class definitions and claims somewhat differ,
 3
     the numerous common legal questions presented warrant consolidation of the two cases.”).
 4
     Second, any such scope differences in class definition are contemplated by Rule 23 of the Federal
 5
 6   Rules of Civil Procedure. In the event discovery establishes a factual basis for a district court to

 7   conclude a subclass is appropriate to address differences in class definition, the court may divide
 8   a class into subclasses. Fed. R. Civ. P. 23(c)(5); see, e.g., Rodriguez v. Hayes, 591 F.3d 1105,
 9
     1123 (9th Cir. 2010) (Ninth Circuit noting that “to the extent there may be concern . . . [about
10
     differences between class members, the court] . . . may counsel the formation of subclasses.”).
11
12          Because the parallel cases share many common questions of fact and law, and thus satisfy

13   the threshold determination under Rule 42, this Court should consolidate the parallel cases against
14
     Wells Fargo.
15
                    2.   Saving of Time and Effort Also Weigh In Favor of Consolidation
16
            As previously mentioned, when assessing the properness of consolidation, a district court
17
18   should also consider “the saving of time and effort consolidation would produce against any

19   inconvenience, delay, or expense that it would cause.” Melgoza, 2022 WL 1693706, at *2
20
     (quotations and citations omitted).
21
            Here, consolidation would save the Court, and the various parties, significant resources by
22
     preventing inefficient and duplicative discovery as well as inefficient motion practice, including
23
24   class certification. As established above, the claims each Plaintiff makes arise from the same or

25   similar set of factual and legal circumstances. Supra II.A.1. Accordingly, discovery relating to
26
     those issues will be parallel. See, e.g., Brown v. Accellion, Inc., 2022 WL 767279, at *2–*3 (N.D.
27
     Cal. Mar. 14, 2022) (This Court noting that discovery issues will proceed in parallel fashion when
28
     the claims for each case arise from the same or similar set of circumstances).
              Perkins Plaintiffs’ Response In Support of the Wells Fargo Defendants’ Motion to Consolidate

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 1            Lastly, consolidation will not cause inconvenience, delay, or expense. Notably, the parallel

 2   cases are at, essentially, the same pleading stage. No discovery has taken place in any of the six
 3
     parallel cases. Instead of producing inconvenience, delay, or additional expense, “consolidating
 4
     all the identified cases will allow the cases to proceed at the same pace, promote judicial economy
 5
 6   by lessening the Court’s burden of managing [the cases], and streamline the parties’ discovery and

 7   briefing efforts … .” Melgoza, 2022 WL 1693706, at *1 (consolidating putative class actions that
 8   were “at a similar stage.”). Simply put, each of these parallel cases are—fundamentally—about
 9
     Wells Fargo’s alleged racial discrimination in the home loan arena. Consolidating these parallel
10
     cases would save time and effort, and would not produce any inconvenience, delay, or expense.
11
12      B. This Court Should Order Plaintiffs to File a Master Consolidated Pleading.

13            A common approach in “consolidated [actions], including class actions, is to encourage
14   use of a master pleading.” Imran v. Vital Pharms., Inc., 2019 WL 12340204, at *2 (N.D. Cal. Oct.
15
     17, 2019) (quoting Manual for Complex Litigation § 21.15 (4th ed.)). District courts routinely
16
     order plaintiffs to file a master pleading following consolidation. See, e.g., Huynh v. v. Quora,
17
18   Inc., 2019 WL 11502874, at *1 (N.D. Cal. Apr. 11, 2019) (ordering plaintiffs to file a consolidated

19   complaint). Here, Perkins Plaintiffs agree that this Court should order the filing of a master
20
     pleading.
21
                                              III. CONCLUSION
22
              For the forgoing reasons, the Perkins Plaintiffs respectfully request that the Court
23
24   consolidate this action with the other parallel cases for all purposes.

25
     Dated:          August 26, 2022
26                                                      Respectfully submitted,
27
28                                                      By:      /s/Amanda M. Williams
                                                                 Dan E. Gustafson (Pro Hac Vice)
               Perkins Plaintiffs’ Response In Support of the Wells Fargo Defendants’ Motion to Consolidate

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25                                                     and Laronica Johnson.
26
27
28

     Perkins Plaintiffs’ Response In Support of the Wells Fargo Defendants’ Motion to Consolidate

                                                 13
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 1                                    ATTORNEY ATTESTATION

 2          Pursuant to Civil Local Rule 5-1(h)(3), I hereby attest that concurrence in the filing of this

 3   document has been obtained from each of the other signatories.

 4
                                                               /s/Amanda M. Williams
 5                                                             Amanda M. Williams
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              Perkins Plaintiffs’ Response In Support of the Wells Fargo Defendants’ Motion to Consolidate

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